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                   UNITED STATES DISTRICT COURT
      FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.3)
                                Eastern Division

Redner's Markets, Inc., et al.
                                         Plaintiff,
v.                                                       Case No.: 1:24−cv−11801
                                                         Honorable Jeffrey I Cummings
Lamb Weston Holdings, Inc., et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, April 21, 2025:


       MINUTE entry before the Honorable Jeffrey I Cummings: Plaintiffs' unopposed
motion to reassign case as related [117] is granted. The Court requests that the Executive
Committee re−assign Case No. 25−cv−1205, Bonfire Craft Kitchen Surprise LLC, et al.,
v. Lamb Weston Holdings, Inc., et al., to this Court as related to Case No. 24−cv−11801,
In Re Frozen Potato Products Antitrust Litigation. Upon reassignment, the Clerk shall
administratively close Case No. 25−cv−1205. Mailed notice (cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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